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                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MARYLAND

 R. ALEXANDER ACOSTA,                                 )
 SECRETARY OF LABOR,                                  )
                                                      )
         Plaintiff,                                   )
                                                      ) CIVIL NO. 1:18-1290-RDB
 v.                                                   )
                                                      )
 WH ADMINISTRATORS, INC., et al.,                     )
                                                      )
         Defendants.                                  )
                                                      )
                                                      )

          SECRETARY OF LABOR’S MOTION FOR SUMMARY JUDGMENT
              AGAINST DEFENDANTS WH ADMINISTRATORS, INC.,
                  BRENDAN TURNER, AND SUSANNE SHEIL

        The Secretary of Labor moves under Federal Rule of Civil Procedure 56 for summary

judgment against Defendants WH Administrators, Inc., Brendan Turner, and Susanne Sheil.

       The Court grants summary judgment “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). Summary judgment is granted when no genuine issue of material fact remains

unresolved and inquiry into the facts is unnecessary to clarify the application of the law. See

McKinney v. Bd. of Trustees, 955 F.2d 924, 928 (4th Cir. 1992). Summary judgment against a

party is appropriate when it fails to adduce facts sufficient to establish the existence of any

element essential to that party’s case, and for which that party will bear the burden of proof at

trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       Under this standard, and based on the accompanying memorandum in support of this

motion along with the supporting exhibits, deposition testimony, and affidavits, the Secretary is

entitled to judgment as a matter of law on the following issues:
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       1.       The employee health and welfare benefit plans that Defendants designed, sold,

and administered for the employer clients of WH Administrators, Inc. are employee welfare

benefit plans, as defined under 29 U.S.C. § 1002(1), and governed by the Employee Retirement

Income Security Act of 1974 (ERISA).

       2.       Defendant WH Administrators, Inc. was the named and functional fiduciary of the

welfare benefit plans that Defendants administered for the employer clients of WH

Administrators, Inc.

       3.       Defendants Turner and Sheil were functional fiduciaries of the welfare benefit

plans that WH Administrators, Inc. administered for its employer clients.

       4.       Defendants WH Administrator, Inc., Turner, and Sheil breached their fiduciary

duties to the participants of the welfare benefit plans that WH Administrators, Inc. administered

for its employer clients, in violation of 29 U.S.C. § 1104(a)(1)(B), by failing to ensure that the

plans were properly funded and by systemically failing to pay incurred medical expenses in the

amount of $26,845,911.

       5.       Defendants WH Administrator, Inc., Turner, and Sheil breached their fiduciary

duties to the participants of the welfare benefit plans that WH Administrators, Inc. administered

for its employer clients, in violation of 29 U.S.C. § 1104(a)(1)(D), by improperly denying claims

for benefits in the amount of $26,845,911 contrary to the terms of the governing plan documents.

       6.       Defendants WH Administrator, Inc., Turner, and Sheil engaged in prohibited

transactions in violation of 29 U.S.C. § 1106(b)(1) by co-mingling the welfare benefit plans’

assets with the corporate assets of WH Administrators, Inc., appropriating the plans’ assets for

their own use and benefit, and by paying the plans’ assets to their insurance brokers to solicit

business on behalf of WH Administrators, Inc.



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       7.       Defendants WH Administrator, Inc., Turner, and Sheil engaged in prohibited

transactions in violation of 29 U.S.C. § 1106(b)(3) by taking commissions and other payments

from Pharmacy Benefit Managers, Preferred Provider Organizations, and a stop-loss insurance

carrier, all of whom provided services to and received payments from the welfare benefit plans

that WH Administrators, Inc. administered for its employer clients.

       8.       The Defendants are jointly and severally liable for compensating the plans’

participants in the amount of $26,845,911 relating to their failure to fund the welfare benefit

plans and by failing to pay the incurred medical expenses of the plans’ participants. See 29

U.S.C. § 1132(a)(5).

       9.       The Defendants are jointly and severally liable for restoring to the welfare benefit

plans $1,804,693 relating to their prohibited transactions of using the plans’ assets to pay WH

Administrator, Inc.’s insurance brokers, misappropriating the plans’ assets intended to purchase

stop-loss insurance, and the paying off the personal debt of Defendant Turner. See 29 U.S.C.

§ 1109(a).

       10.      The Defendants are jointly and severally liable for disgorging unjust profits in the

amount of $397,189 relating to the prohibited transactions of collecting impermissible

commissions from the Pharmacy Benefit Manager, the Preferred Provider Organization, and the

stop-loss insurance carrier in connection with plan-related transactions. See 29 U.S.C.

§ 1132(a)(5).

       11.      The Defendants’ fiduciary breaches and prohibited transactions warrant the

Court’s entry of a permanent injunction against Defendants by permanently prohibiting them

from acting, individually or collectively, as a fiduciary or service provider for any ERISA-

covered employee benefit plan. See 29 U.S.C. § 1132(a)(5).



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       Based on the reasons set forth in the accompanying memorandum of law and supporting

exhibits, the Secretary is entitled to summary judgment against Defendants, including restitution

in favor of the plans’ participants, disgorgement of Defendants’ unjust profits, and a permanent

injunction against Defendants.



May 2, 2019                                         Respectfully submitted,

                                                    KATE S. O’SCANNLAIN
                                                    Solicitor of Labor

                                                    OSCAR L. HAMPTON III
                                                    Regional Solicitor of Labor

                                                    JODEEN M. HOBBS
                                                    Regional Counsel for ERISA

                                                    s/Geoffrey Forney
                                                    GEOFFREY FORNEY
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                                      CERTIFICATE OF SERVICE

          I certify that on May 2, 2019, I electronically filed the foregoing SECRETARY OF

LABOR’S MOTION FOR SUMMARY JUDGMENT AGAINST DEFENDANTS

WH ADMINISTRATORS, INC., BRENDAN TURNER, AND SUSANNE SHEIL with the

Clerk of Court by using the CM/ECF system. After filing, I will immediately cause service of

the foregoing filing on the defendants’ counsel by emailing a true and correct copy to the

following counsel of record:

          David A. Hill
          dhill4264@gmail.com

          I further certify that after filing, I will serve the foregoing filing by directing that a true

and correct copy be delivered by UPS, a private courier service, to the following counsel of

record:

          David A. Hill
          DHill Professional Services, LLC
          14605 Silverstone Drive
          Silver Spring, MD 20905


                                                           s/Geoffrey Forney
                                                           GEOFFREY FORNEY
                                                           Senior Trial Attorney
                                                           United States Department of Labor




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